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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917

                                   8    ANTITRUST LITIGATION                                Case No. C-07-5944 JST

                                   9                                                        ORDER REGARDING LGE’S
                                        This Document Relates To:                           ADMINISTRATIVE MOTION TO FILE
                                  10                                                        UNDER SEAL
                                        Sears, Roebuck and Co. and Kmart Corp. v.           Re: ECF No. 4556
                                  11
                                        Chunghwa Picture Tubes, Ltd., No. 11-cv-
                                  12    05514
Northern District of California
 United States District Court




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                                  14           LG Electronics, Inc. (“LGE”) moves to file under seal portions of its Request for Leave to
                                  15   File Additional Motions. ECF No. 4556. LGE seeks to file under seal because Plaintiffs Sears,
                                  16   Roebuck and Co. and Kmart Corporation (the “Designating Parties”) have designated the material
                                  17   as highly confidential. Local Rule 79-5 requires that, within four days of the filing of the
                                  18   administrative motion to file under seal, the Designating Parties file a declaration establishing that
                                  19   the designated material is sealable. The Designating Parties failed to file a declaration in support
                                  20   of sealing within four days of the filing of LGE’s motion on April 12, 2016. Should the
                                  21   Designating Parties not file their declaration by May 11, 2016, the Court will deny the motion to
                                  22   file under seal.
                                  23           IT IS SO ORDERED.
                                  24   Dated: May 4, 2016
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                  26                                                            United States District Judge

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